Case 1:02-Cv-01111-.]P|\/|-egb Document 406 Filed 09/02/05 Page 1 of 5 Page|D 2685

Hr.so ay D C_
UNITED sTATEs DISTRICT coURT '
FOR THE wESTERN DISTRICT OF TENNESSEE 05 SEP -2 pH h. 2
EASTERN DIVISION ' '
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PHILIP E. BOYNTON, CLARENCE W. l _
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BOYNTON, NORMA ANN LOGAN,
RENELDA J. WESTFALL, SHANNON
NONN, AARON SCOTT BERNARD,

ALAN F. BERNARD, LINDA R. BERNARD
and I)AVID ALLEN BERNARD, Individually,
and on behalf of an Unincorporated Association
d/b/a “Adtech, Inc. of Illinois,” on behalf of a
General Partnership d/b/a “Adtech, Inc. of
Illineis,” and on behalf of a class of similarl
situated persons, ‘

Plaintiffs,

vs. Cause No.: 1-02-1111
HEADWATERS, INC., f/k/a Coval
Technologies, Inc., JAMES G. DAVIDSON,
A. GRAYDON HOOVER, and Unnamed
DOE DEFENDANTS 1 - 25,

and

HEADWATERS, INC. I/k/a Covol
Teclmologies, Inc.,

Counterclaimants,
vs.

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Defendants. )
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PHILLIP E. BOYNTON, VINCENT M )
HAMILTON, MAX IRVIN, CLARENCE W. )
BOYN'I`ON, NORMA ANN LOGAN, )
RENELDA J. WESTFALL, SHANNON )
NONN, AARON SCOTT BERNARD, ALAN )
F. BERNARD, LINDA R. BERNARD )
Aod DAVID ALLEN BERNARD, and DOE )
DEFENDANTS 1-25, )
)
)

Couoterclaim Defeodants

This document entered on the docket sheet in compliance
with nme 58 and/or 7e(a) FHcP on q“@ 12 52 %jz

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AMENDED WRIT OF HABEUS CORPUS AD TESTIFICANDUM
T0: Superintendent
Federal Correctional Institute
Folrest City, Arkansas

and

The United States Marshall’s Service
Western District of Tennessee

It appearing to the Court upon a review of Defendant James Gary Davidson’s
Unopposed Petition for a Writ of Habeus Corpus Ad Testifz`candum that the petition is
well taken and should be granted, it is therefore:

ORDERED, ADJUDGED and DECREED as follows:

1. The United States Marshall’s Service shall transport Jarnes G. Davidson,
inmate registration number 15646-076, from the Federal Correctional Institution (FCI)
located in Forrest City, Arkansas to Memphis, Tennessee no later than Tuesday,
Septernber 6, 2005 to be retained in the Western District until the completion of the civil
trial of the case. 1

2. The United States Marshall’s Service transport J ames G. Davidson to this
Court on Tuesday, Septernber 6, 2005 at 9:00 a.m. and everyday subsequent to that date
until James G. Davidson is excused by the Court.

3. The costs and expenses associated with transporting James G. Davidson to
Mernphis, Tennessee for trial, his confinement in Mernphis, Tennessee during trial and
his return transportation to the Federal Correctional Institution in Forrest City, Arkansas

after trial shall be borne by the United States Marshall’s Service.

 

l The Court has been informed that the FCI facility is under quarantine because of an outbreak of
chickenpox. Defendant Davidson will be tested for the virus. If he tests negative, he will be transported to
the Western District on Tuesday, September 6; if he tests positive, he will be detained at FCI and trial may
be postponed

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ENTER this the l day of September, 2005.

§§Piii °d@i

 

. McCalla,
nited States District Court Judge

This Writ Was prepared by:
Davis Law Firm, P.C.

 

Brian L. Davis
Attorney for Defendant,
James G. Davidson
5185 Getwell Road
Southaven, MS 38671
662-393-8542

CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing has been served on:

Jeffrey A. Greene Larry Laycock, C. J. Ververka
Attorney for the Plaintiff Workman, Nydegger & Seeley
One Burton Hills, Suite 330 1000 Eagle Gate Tower
Nashville, TN 37215 60 E. South Temple

Salt Lake City, Utah 84111
Greg Oakley Edwin E. Wallis
Soper & Oakley, P.C. Moss, Benton & Wallis, PLLC
113 29“‘ Ave., s. 325 N. Parkway
Nasvhille, TN 37212 P.O. Box 3897

Jackson, TN 38303

 

Certifying Attorney

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 406 in
case 1:02-CV-01111 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

Brian L. Davis

LAW OFFICE OF BRIAN DAVIS
919 Ferncliff Cove

Suite 1

Southaven, MS 38671

Larry R. Laycock

WORKMAN, NYDEGGER & SEELEY
1000 Eagle Gate Tower

60 E. South Temple

Salt Lake City7 UT 841 ll

David R. Wright

WORKMAN NYDEGGER & SEELEY
100 Eagle Gate lower

60 E. South Temple

Salt Lake City7 UT 841 11

Charles J. Veverka

WORKMAN NYDEGGER & SEELEY
1000 Eagle Gate Tower

60 E. South Temple

Salt Lake City7 UT 841 11

Guy C. Nicholson
TISDALE & NICHOLSON
2029 Century Park East

Ste 900

Los Angeles7 CA 90067

Edwin E. Wallis

MOSS BENTON & WALLIS, PLLC
325 N. Parkway

P.O. Box 3897

Jackson, TN 38303--389

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R. Parrish Freeman

WORKMAN NYDEGGER & SEELEY
1000 Eagle Gate Tower

60 E. South Temple

Salt Lake City7 UT 841 11

Jeffrey A. Greene

One Burton Hills Blvd
Ste 330

Nashville, TN 37215

Brent P. Lorimer
WORKMAN NYDEGGER
1000 Eagle Gate Tower

60 East South Temple

Salt Lake City7 UT 841 11

Greg Oakley

SMALL SOPER & OAKLEY
One Burton Hills Blvd.

Ste. 330

Nashville, TN 37215

Joseph G Pia

WORKMAN, NYDEGGER & SEELEY
1000 Eagle Gate Tower

60 E. South Temple

Salt Lake City7 UT 841 11

Honorable J on McCalla
US DISTRICT COURT

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